Case 8-18-78459-ast

Fill in this information to identify your case: ——

Rosa
Debtor 1

Doc 5 Filed 12/18/18

Ferreiras

 

First Name

Debtor 2 Jose

Madi Name

Last Name

Ferreiras

 

(Spouse, if filing) First Name Middle Name

Eastern
United States Bankruptcy Court for the:

Case number

Last Name

District of

 

(if known)

 

New York
(State)

 

Official Form 108

Statement of Intention for Individuals Filing Under Chapter 7

Entered 12/18/18 10:46:33

C) Check if this is an
amended filing

12/15

 

If you are an individual filing under chapter 7, you must fill out this form if:
— creditors have claims secured by your property, or
™@ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,

whichever is earlier, unless the court extends the time for cause. You must also send coples to the creditors and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known).

Ea List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the

information below.

Identify the creditor and the property that is collateral

Creditors Wells Farva Bank
name:

Description of 433 Jefferson Ave, Rockville Centre, NY 11570

property
securing debt:

Creditor's Blue Federal Credit
name.

Description of Nissan Altima 2010
property

securing debt

Creditor's
name:

Description of
property
securing debt:

Creditors
name

Description of

property
securing debt:

Official Form 108

What do you intend to do with the property that
secures a debt? :

C) Surrender the property.
C) Retain the property and redeem it.

CJ Retain the property and enter into a
Reaffirmation Agreement.

O71 Retain the property and [explain]:
Loss Midigation

Did you claim the property
as exempt on Schedule C?

CI No
X Yes

 

 

C) Surrender the property.
CJ Retain the property and redeem it.

NO) Retain the property and enter into a
Reaffirmation Agreement.

CJ Retain the property and [explain]:

CI No
OD ves

 

 

(CQ Surrender the property.
©) Retain the property and redeem it.

C) Retain the property and enter into a
Reaffirmatian Agreement.

(J Retain the property and [explain):

LI No
U) Yes

 

 

() Surrender the property.
C1] Retain the property and redeem it.

() Retain the property and enter into a
Reaffirmation Agreement.

C) Retain the property and [explain]:

CI No
Ql Yes

 

Statement of Intention for Individuals Filing Under Chapter 7

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Rosa Ferreiras
Debtor 1 Case number (if known’

 

First Namo Middia Name Last Name

[ Part 2: List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066),
fill in the information below. Do not list real estate leases. Unexpired /eases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 

 

 

 

 

 

Describe your unexpired personal property leases . , oe So Will the lease be assumed?
: Lessor’s name: ONo

: noe em me eee em eee ee = eo O Y

! Description of leased es

property:

Lessors name: QO No

: wee ee ce ee me ee ee - cae tr re Q Ye

: Description of leased s

i property:

Lessor’s name: QO No
Description of teased C1 Yes
property:

; Lessors name: ONo
epee nese nem natant rab pce remem one 8 ower ee wee eee oe wes . te te cure cetera cence oa ta gk ee a . UO Yes
| Description of leased

property:

Lessors name: QQ) No

ores worn se es Se sre a ’ OyYes
: Description of lease
i property:

Lessor's name: OINo
: eee inn ae a ae pom ee aoe aoe bee 6 wee aoe oo oe te ea ee + ee ey woe cae Oo Yes
: Description of leased

property:

Lessor's name: O No

cee ee ee ee - a Woes cee cnn eet m=O veg

Description of leased
property:

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

x fa tetra! x Za

ature oMDebtor 1 Signature of Debtor 2

pate fZ / 10 | LX pae[*/1D / 201 6
MMI {DD 7 YYYY MM? DD?’ YYYY

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